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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAN YIENGST,

Plaintiff . DOCKET NO:
v.

MATTEL SALES CORP.,
Jury Trial Demanded

Defendant

COMPLAINT

Plaintiff, JAN YIENGST (“Ms. Yiengst”), by and through her undersigned
attorneys, Peggy M. Morcom, Esquire, James T. Podgorney, Esquire, and Morcom
Law, LLC, files this Complaint against Defendant, MATTEL SALES CORP. for
violations of the Americans with Disabilities Act of 1990 (as amended) (“ADA”),
42 U.S.C. § 12101, et seg. and the Pennsylvania Human Relations Act, 43 P.S. §
951, et seq. Plaintiff alleges and avers as follows:

JURSIDICTION AND VENUE

1. Jurisdiction is appropriate in this Court under 28 U.S.C. §1331 and
§1367.

2. Venue is proper because all parties reside or do business in this
Jurisdiction and all unlawful employment practices complained of occurred in this

District.
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3. On October 10, 2022, Ms. Yiengst dual-filed a Complaint with the
Pennsylvania Human Relations Commission (“PHRC”) and Equal Employment
Opportunity Commission (“EEOC”) alleging discrimination pursuant to the PHRA
and the ADA.

4. Ms. Yiengst exhausted her administrative remedies on September 18,
2023 when a Notice of Right to Sue was issued and was received by Ms. Yiengst on
that same date. See Exhibit “A” attached hereto.

PARTIES

5. Ms. Yiengst is an adult individual residing in Jonestown, Lebanon
County, Pennsylvania.

6. Mattel Sales Corp. (hereinafter “Mattel”), is a California corporation
with a principal place of business located at 575 Old Forge Rd, Jonestown, PA 17038,
and operates as a wholesaler of toys and games.

7. In July of 2018, Ms. Yiengst was hired by Mattel into the position of
Transportation Coordinator, and she was primarily responsible for coordinating and
routing customer shipments as well as preparing and completing all necessary
paperwork for each shipment.

8. On May 13, 2022, Ms. Yiengst was terminated from her employment

with Mattel.
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9. Ms. Yiengst was at all times qualified for the position of Transportation
Coordinator.
10. Ms. Yiengst’s performance at Mattel was exemplary, and she was never

subjected to any form of discipline in her nearly four years of employment.

COUNT I
Americans with Disabilities Act

11. Plaintiff incorporates Paragraphs | through 10, as though fully set
forth herein.

12. Ms. Yiengst is an “employee” as that term is defined under the ADA.

13. Mattel employs in excess of 100 individuals, and Mattel is an
“employer” as that term is defined under the ADA.

14. Ms. Yiengst was diagnosed with anxiety in or about April of 2020.

15. Anxiety is a “disability” as that term is defined under the ADA.

16. Ms. Yiengst is a qualified individual with a disability under the ADA.

17. In March of 2020, the United States, including the Commonwealth of
Pennsylvania, entered mandatory lockdowns across many private and public sectors

due to the COVID-19 pandemic.
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18. | Prior to any shutdown or work-from-home orders at Mattel, Ms.
Yiengst recognized that COVID-19 could present serious health risks for herself and
her husband, who is immunocompromised. !

19. In March 2020, after being sent home for the mandatory lockdown
due to the COVID-19 pandemic, Ms. Yiengst was called by her former Director,
Jim Anderson (“Anderson”), wherein Anderson asked her to work from home.

20. Ms. Yiengst’s husband was a prior employee of Mattel, and Anderson
knew about Ms. Yiengst’s husband being immunocompromised.

21. Anderson did not have any issues with Ms. Yiengst working from
home as she could perform all essential functions of her job from her home.
Accordingly, Ms. Yiengst permission began teleworking in March 2020 without
issue.

22. Following March of 2020, the COVID-19 pandemic worsened
throughout the United States and Pennsylvania, and Ms. Yiengst developed serious
anxiety surrounding the spread of COVID-19 and keeping both herself and her

immunocompromised husband safe from COVID-19 infection.

' Ms. Yiengst’s husband suffers from carotid artery disease, respiratory issues, and is in remission from cancer of
the lung, which render him immunocompromised with regards to the COVID-19 virus. Ms. Yiengst’s husband is also
66 years of age and considered a “senior,” which also renders him immunocompromised with regards to COVID-
19.
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23. In July of 2020, Ms. Yiengst received notification from Diana
Loraschi (“Loraschi’”’), former Human Resources Manager, that Ms. Yiengst was
required to return to work in person at Mattel’s facility in Jonestown, PA.

24. Ms. Yiengst explained her and her husband’s medical diagnoses to
Loraschi, and she notified Mattel that she experienced breathing issues when
wearing a mask.

25. In or about July of 2020, Ms. Yiengst was advised by Loraschi to
complete an ADA accommodation form outlining the reasons needed for her to
continue working from home.

26. Inor about July of 2020, Ms. Yiengst submitted the ADA
accommodation form to Loraschi and Human Resources as advised, and Ms.
Yiengst was informed she could continue working from home, as she continued to
perform all the essential functions of her job while teleworking.

27. Over the next two years, Ms. Yiengst and her healthcare provider
continued to complete Mattel’s ADA accommodation forms as required, and each
time Ms. Yiengst was granted the ability to continue working from home.

28. The accommodation forms submitted to Mattel clearly indicated Ms.
Yiengst’s underlying medical conditions and disabilities including anxiety and
difficulties breathing that limit or prevent her from wearing a face covering and

from working in Mattel’s office environment.
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29. The ADA accommodation requests also indicated that due to Ms.
Yiengst’s anxiety, she required an accommodation to continue to work from home
for the duration of her employment with Mattel.

30. Ms. Yiengst provided specific details in her ADA accommodation
requests noting that she could not wear a mask, that she suffered from anxiety for
which she seeks medical treatment, and that she is unable to go into any area with
large groups of people, as her husband’s health places him in a high-risk group if he
were to contract COVID-19.

31. Ms. Yiengst’s healthcare providers consistently concluded that Ms.
Yiengst cannot be in an office environment.

32. Ms. Yiengst’s ADA accommodation requests also indicated that she
had the ability to perform all of the essential functions of her job, so long as she is
permitted to continue working from home.

33. Mattel’s previous management, Anderson, Loraschi, and Human
Resources, including Traci Valerio, Human Resource Manager, (“Valerio”) with
whom Ms. Yiengst corresponded, were well aware of Ms. Yiengst’s medical
conditions, and the company had no issues granting Ms. Yiengst’s reasonable
accommodation of exclusively working from home for a two-year time period.

34. Beginning in March 2022, after two years of working from home and

Mattel having no issues granting Ms. Yiengst’s request, Ms. Yiengst began to
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receive correspondence from the new Human Resources Manager Valerio, who
advised that her working from home was now creating an issue for Mattel. This
correspondence from Valerio indicated that the mask mandate was lifted, and Ms.
Yiengst needed to return to the office.

35. In January 2022, Ms. Yiengst was initially contacted by Steve (last
name unknown), who was part of the internal Human Resources team, who advised
her that Mattel did not have any updated ADA accommodations on file, which was
untrue.

36.  Inor about May of 2022, Ms. Yiengst was contacted by Valerio, who
indicated that Ms. Yiengst’s request to permanently work from home would not be
possible because other employees had to perform “essential functions of her job for
her.”

37. Atno time prior to May of 2022 was Ms. Yiengst informed that other
employees were performing her responsibilities.

38. Ms. Yiengst was terminated effective May 13, 2022.

39. Ms. Yiengst’s termination letter from Valerio stated that Ms.
Yiengst’s accommodation request was for “others to do tasks for you,” which was a

blatantly false characterization of the ADA accommodation request.
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40. Valerio also indicated that “such an accommodation would require
removal of essential functions of your position. We can’t continue to have other
employees doing these essential functions of your role and responsibilities for you.”

41. One of the central issues Mattel sites in their termination letter is other
employees performing Ms. Yiengst’s job functions. Ms. Yiengst understood this
statement as a reference to the requirement that Ms. Yiengst retrieve documents
from the shipping floor to either process internal changes to the documents and/or
scan and send these documents, which required approximately seven (7) minutes of
her work time each month (160-200 hours).

42. Ms. Yiengst’s position does not exist in order to retrieve documents
from the shipping floor for scanning and copying; assigning this task to an on-site
employee would appear to have no effect on the employees or Mattel’s operation as
this is exactly what had been done from March of 2020 to May of 2022 while Ms.
Yiengst worked from home. Retrieving documents to scan them is not a specialized
function and Ms. Yiengst was not hired for her retrieving and scanning abilities.

43. The scanning, retrieving, and filing aspect is not an essential function
of Ms. Yiengst’s job as a Transportation Coordinator.

44. From March of 2020 to May of 2022, on-site employees have

retrieved documents from the shipping floor, copied, and scanned them without
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issue while Ms. Yiengst was working at home due to her and her husband’s
disability.

45. Ms. Yiengst was granted an accommodation for two years with no
reference to any hardship to any fellow employee or Mattel.

46. Mattel’s actions to terminate Ms. Yiengst effective May 13, 2022
because of her inability to work in an office environment because of her and her
husband’s disabilities and conditions and removing her reasonable accommodation
that had been granted by Mattel for two years that allowed her to perform all
essential functions of her job is in direct violation of the ADA.

47. Ms. Yiengst suffers from anxiety directly related to the COVID-19
pandemic and her husband is immunocompromised. Further, Ms. Yiengst is unable
to wear a mask because the face covering restricts her breathing.

48. Mattel also perceived Ms. Yiengst as having a disability as it granted
her a reasonable accommodation to work from home from March 2020 to May 2022
in response to multiple ADA accommodation requests due to her and her husband’s
disabilities and conditions.

49.  Allof Ms. Yiengst’s medical conditions were outlined in her
accommodation request forms and formally acknowledged by Mattel, which granted

the accommodation requests to work from home for more than two years.
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50. Mattel initially provided Ms. Yiengst a reasonable accommodation by
reassigning her to work from home.

51. Mattel did not experience an undue hardship.

52. Mattel violated the ADA by not engaging Ms. Yiengst in the
interactive process after January 2022, removing a reasonable accommodation from
her that allowed her to easily and successfully function in her position for the last
two years, and terminating her because of her disability.

53. The actions of Mattel and Valerio were intentional and willful when it
failed to engage in the interactive process, failed to provide a reasonable
accommodation, and terminated Ms. Yiengst’s employment as a result.

54. Mattel did not have a legitimate non-discriminatory reason for
denying Ms. Yeingst’s request for a reasonable accommodation.

55. Asaresult of Mattel’s discriminatory actions, Ms. Yiengst has
suffered lost wages in the form of front pay and back pay, loss of benefits,
exacerbation to her anxiety, humiliation, and embarrassment.

56. Asadirect and/or proximate result of the above-described actions,
Ms. Yiengst suffered emotional and mental injuries, including but not limited to

past and present pain and suffering, humiliation, anxiety, and embarrassment.
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57. Asa direct and proximate result of the above-described actions, Ms.
Yiengst suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, and loss of retirement benefits.

58. Asa direct and proximate result of the above-described conduct, Ms.
Yiengst suffered professional injuries including, but not limited to, her professional
reputation, professional development and loss of potential promotions, and loss of

retirement benefits.

COUNT If
PENNSYLVANIA HUMAN RELATIONS ACT (“PHRA”) VIOLATIONS

59. Ms. Yiengst incorporates paragraphs | — 58 as though fully set forth
herein.

60. Ms. Yiengst is an “employee” as the term is defined under the PHRA.

61. Defendant is an “employer” as the term is defined under the PHRA.

62. Anxiety is a “disability” as that term is defined under the PHRA.

63. Mattel violated the PHRA by not engaging Ms. Yiengst in the
interactive process, removing a reasonable accommodation from her that allowed
her to easily function in her position for the last two years, and terminating her
because of her disability.

64. The actions of Mattel and Valerio were intentional and willful when it
failed to engage in the interactive process, failed to provide a reasonable

accommodation, and terminated Ms. Yiengst’s employment as a result.
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65. Mattel did not have a legitimate non-discriminatory reason for
denying Ms. Yeingst’s request for a reasonable accommodation.

66. Asaresult of Mattel’s discriminatory actions, Ms. Yiengst has
suffered lost wages in the form of front pay and back pay, loss of benefits,
exacerbation to her anxiety, humiliation, and embarrassment.

67. Asa direct and/or proximate result of the above-described actions,
Ms. Yiengst suffered emotional and mental injuries, including but not limited to
past and present pain and suffering, humiliation, anxiety, and embarrassment.

68. Asa direct and proximate result of the above-described actions, Ms.
Yiengst suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, and loss of retirement benefits.

69. Asa direct and proximate result of the above-described conduct, Ms.
Yiengst suffered professional injuries including, but not limited to, her professional
reputation, professional development and loss of potential promotions, and loss of
retirement benefits.

70. Asadirect and proximate result of Mattel’s discriminatory actions,
Ms. Yiengst has suffered lost wages in the form of front pay and back pay, loss of

benefits, exacerbation to her anxiety, humiliation, and embarrassment.
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REQUESTED RELIEF

WHEREFORE, Plaintiff, Jan Yiengst, respectfully requests this Honorable
Court to enter Judgment in her favor and against Defendant for damages in an
amount in excess of $75,000.00, plus interests and costs of suit as well as the
following:

(a) Exercise jurisdiction over this matter;

(b) Exercise supplemental jurisdiction over Plaintiff's PHRA claim;

(b) Order Defendant to reimburse Plaintiff for all salary and benefits lost
by her as a result of Defendant’s actions, in an amount in excess of
$150,000.00, including but not limited to front pay, back pay, and
compensatory damages;

(c) Award Plaintiff punitive damages under the Americans with
Disabilities Act;

(d) Award Plaintiff all costs of this action, including reasonable attorney’s
fees;

(e) Award Plaintiff such other and further relief as this court deems just

proper and equitable.
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Respectfully submitted,

/s/Peggy M. Morcom
Peggy M. Morcom, Esquire
Atty. ID No.: 92463
Morcom Law, LLC

1028 E. Chocolate Avenue
Hershey, PA 17033

Phone: (717) 298-1907

Fax: (717) 298-3232
pmorcom@morcomlaw.com
Counsel for Plaintiff

/s/James T. Podgorney

James T. Podgomey, Esquire
Atty. ID No.: 315848
Morcom Law, LLC

1028 E. Chocolate Avenue
Hershey, PA 17033

Phone: (717) 298-1907

Fax: (717) 298-3232
jpodgorney@morcomlaw.com
Counsel for Plaintiff

Date: 12/15/2023
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VERIFICATION

The undersigned hereby verifies that the statements in tne Toregomg
document are based upon information which has been furnished to counsel by me
and information which has been gathered by counsel in the preparation of this
lawsuit. The language of the foregoing document is that of counsel and not my
own. I have read the foregoing document and to the extent that it is based upo
information which I have given to counsel. it is true and correct to the best of m'
knowledge. information and belief. To the extent that the contents of the foregoin
document are that of counsel. I have relied upon my counsel in making this

verification. The undersigned also understands that the statements therein are made

‘uptect (0 the penalties of 18 Pa.C.S $4904 relating to unsworn falsification to

=utnorities.

Date: 16 4- Qo 3
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office
801 Market St, Suite 1000
Philadelphia, PA 19107
(267) 589-9700

Website: www.eeoc. gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161, 161-A & 161-B)

Issued On: 09/18/2023

To: Jan Yiengst
165 Green Point School Road
Jonestown, PA 17038
Charge No: 530-2023-00352

EEOC _ Representative and

telephone number:
Legal Unit
(267) 589-9707

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission,

Digitally Signed By: Karen McDonough
09/18/2023

Karen McDonough
Deputy District Director

EXHIBIT

A

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Ce:

Jennifer Betts
Ogletree Deakins

1 PPG PL STE 1900
Pittsburgh, PA 15222

Devin Vasquez
Mattel

575 Old Forge Rd
Jonestown, PA 17038

James T Podgorney
Morcom Law

226 W. Chocolate Avenue
Hershey, PA 17033

Please retain this notice for your records.
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Enclosure with EEOC Notice of Closure and Rights (01/22)

INFORMATION RELATED TO FILING SUIT

UNDER THE LAWS ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS — 90 DAYS TO FILE A LAWSUIT

If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).

If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VU, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

ATTORNEY REPRESENTATION

For information about locating an attorney to represent you, go to:
https://www.ecoc.gov/employees/lawsuit.cfm.

In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-Day TIME LIMIT FOR REQUESTS

There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a “Section 83” request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.

Since a lawsuit must be filed within 90 days of this notice, please submit your FOJA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.

To make a FOIA request for your charge file, submit your request online at
https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request

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Enclosure with EEOC Notice of Closure and Rights (01/22)

identifying your request as a “FOIA Request” for Charge Number 530-2023-00352 to the
District Director at Jamie Williamson, 801 Market St Suite 1000

Philadelphia, PA 19107.

To make a Section 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request" for Charge Number 530-2023-00352 to the District Director at Jamie
Williamson, 801 Market St Suite 1000

Philadelphia, PA 19107.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.

For more information on submitting FOIA requests, go to
https://www.eeoc. gov/eeoc/foia/index.cfim.

For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.

NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)

The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at:
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability

If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record of” a disability:

V The limitations from the impairment no longer must be severe or significant for the
impairment to be considered substantially limiting.

Y In addition to activities such as performing manual tasks, walking, seeing, hearing,
speaking, breathing, learning, thinking, concentrating, reading, bending, and
communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
include the operation of major bodily functions, such as: functions of the immune
system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
individual organ within a body system.

¥ Only one major life activity need be substantially limited.

v Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
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Enclosure with EEOC Notice of Closure and Rights (01/22)

are not considered in determining if the impairment substantially limits a major life
activity.

v An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
remission” (e.g., cancer) is a disability if it would be substantially limiting when active.

Vv An impairment may be substantially limiting even though it lasts or is expected to last
fewer than six months.

“Regarded as” coverage

An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).

¥ “Regarded as” coverage under the ADAAA no longer requires that an impairment be
substantially limiting, or that the employer perceives the impairment to be substantially
limiting.

v The employer has a defense against a “regarded as” claim only when the impairment at
issue is objectively both transitory (lasting or expected to last six months or less) and
minor.

vA person is not able to bring a failure to accommodate claim if the individual is covered
only under the “regarded as” definition of “disability”.

Note: Although the amended ADA states that the definition of disability “shall be construed
broadly” and “should not demand extensive analysis,” some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For
moreinformation, consult the amended regulations and appendix, as well as explanatory
publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.

